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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR
9004-1(b)

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 Bayview Loan Servicing, LLC
In re:                                              Case No. 19-29256-CMG

Reza Farzan                                         Chapter 13
                                     Debtor.
                                                    Adv. Pro. No. 19-02228-CMG
                                                    Hearing Date: March 10, 2020 at 10:00 a.m.
Reza Farzan,

               Plaintiff,                           Judge: Hon. Christine M. Gravelle
         v.

Bayview Loan Servicing, LLC

               Defendant.


                   DEFENDANT’S MEMORANDUM OF LAW
 IN OPPOSITION TO PLAINTIFF-DEBTOR MOTION TO RECONSIDER THE COURT
  ORDER OF 1/28/2020 DISMISSING HIS ADVERSARY PROCEEDING COMPLAINT
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         Defendant, Bayview Loan Servicing, LLC (“Bayview”), submits this memorandum of

law in opposition to Plaintiff-Debtor Reza Farzan’s (“Plaintiff”) Motion to Reconsider the Court

Order of 1/28/2020 Dismissing His Adversary Proceeding Complaint 19-AP-02228-CMG.

I.       INTRODUCTION1

         In his Motion for Reconsideration (the “Motion”), Plaintiff misconstrues the purpose of

such a motion, and instead attempts to reargue the same points that this Court and the state court

in the underlying Foreclosure Action have already considered – and rejected – on numerous

occasions. Unhappy with the past results, Plaintiff asks this Court to reconsider its January 28,

2020 Order of dismissal (the “Order”), but in doing so, he fails to identify any controlling law or

evidence that the Court may have overlooked in granting Bayview’s Motion to Dismiss [Dkt. 4].

As such, Plaintiff’s Motion falls short of meeting the standard required for reconsideration, and

the Motion must be denied.

         Above all, this Court properly determined that it lacks jurisdiction to hear Plaintiff’s

claims. Indeed, all of Plaintiff’s claims are inextricably tied to the underlying Foreclosure

Action, and either were, or could have been litigated in that action, and are now barred from

being heard by this Court under various preclusionary doctrines. Nothing in Plaintiff’s Motion

proves otherwise.

         In addition, Plaintiff’s “Clarification of Relevant Facts” and accompanying argument

sections in the Motion all relate to proceedings that occurred in the Foreclosure Action and that

were appropriately addressed by the state court. Plaintiff’s Motion fails to identify any new facts

that were not raised previously (or that are even relevant), nor does it explain how this Court

overlooked any or misapplied the pertinent law. Thus, there is no basis for the Court to

reconsider the January 28, 2020 Order.


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    Capitalized terms have the same meaning set forth in Bayview’s Motion to Dismiss [Dkt. 4].
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          For these reasons, which are described in greater detail below, Plaintiff’s Motion must be

denied.

II.       STATEMENT OF FACTS

          Bayview relies on and hereby incorporates the statement of facts set forth in its Motion to

Dismiss. In addition, Bayview notes that the state court entered Final Judgment against Plaintiff

in the Foreclosure Action on September 3, 2019.2

III.      LEGAL ARGUMENT

          A.     Standard of Review for a Motion for Reconsideration.

          “[A] motion for reconsideration should not provide the parties with an opportunity for a

second bite at the apple.” Tischio v. Bontex, Inc., 16 F. Supp. 2d 511, 532 (D.N.J. 1998).

Rather, Local Rule 7.1(i) “permits a party to seek reconsideration by the Court of matters which

[it] believes the Court has overlooked when it ruled on the motion.” NL Industries, Inc. v.

Commercial Union Insurance, 935 F.Supp. 513, 515 (D.N.J. 1996).                  “The standard for

reargument is high and reconsideration is to be granted only sparingly.” Jackson v. Chubb

Corp., 2001 U.S. Dist. LEXIS 4684 (D.N.J. Mar. 21, 2001), aff’d 36 Fed. Appx. 704 (3d Cir.

2002). In order to prevail on a motion for reconsideration, the moving party has the burden of

demonstrating either: “(1) an intervening change in the controlling law; (2) the availability of

new evidence that was not available when the court [issued its order]; or (3) the need to correct a

clear error of law or fact or to prevent manifest injustice.” Max’s Seafood Café v. Quinteros, 176



2
  The Court may take judicial notice of an adjudicative fact if that fact is not subject to
reasonable dispute. See Fed.R.Evid. 201(b). A judicially noticed fact must either be generally
known within the jurisdiction of the trial court, or be capable of accurate and ready determination
by resort to sources whose accuracy cannot reasonably be questioned. See id.; see also In re
Warfarin Sodium Antitrust Litig., 214 F.3d 395, 398 (3d Cir.2000); Kramer v. Time Warner, Inc.,
937 F.2d 767, 774 (2nd Cir.1991); 1 Weinstein's Fed. Evid. § 201.12[1](2nd ed. 2001) (“While
judicial notice based on general knowledge reflects the traditional approach ... notice of
verifiable facts is a more modern development ... consistent with the approach of the Uniform
Rules of Evidence”.) Here, the docket in the New Jersey Foreclosure Action clearly and
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F.3d 669, 677 (3d Cir. 1999). “The Court will grant a motion for reconsideration only where its

prior decision has overlooked a factual or legal issue that may alter the disposition of the

matter.” Id.

       Plaintiff has not argued that the Court should reconsider its decision because of an

intervening change of law or new evidence uncovered after the Court issued the Order. Rather,

Plaintiff’s argument for reconsideration is premised entirely on his own misunderstanding of the

relevant facts and legal principles governing his disputes. For the reasons set forth below,

Plaintiff has failed to make such a showing, and his Motion must be denied.

       B.      Plaintiff’s Motion Fails To Offer Any Evidence Showing That The
               Bankruptcy Court Has Jurisdiction Over His Foreclosure-Related Claims.

       Plaintiff’s Motion begins with the argument that this Court has jurisdiction to reconsider

and vacate the January 28, 2020 Order. (Motion, p. 4.) In making this argument, Plaintiff relies

solely on F.R.C.P. 60(b), as made applicable to bankruptcy proceedings through Fed. R. Bank. P.

9024, which allows the court to relieve a party from a judgment entered against him. Id.

However, in making this argument, Plaintiff ignores the threshold issue that the Bankruptcy

Court lacks subject-matter jurisdiction to hear his claims at all. Indeed, whether this Court has

jurisdiction to vacate a prior order under Fed. R. Civ. P. 60(b) is entirely different and has no

bearing on whether the Court has subject-matter jurisdiction to hear the case at the outset.

       As set forth at length in Bayview’s Motion to Dismiss, all of Plaintiff’s claims are related

to, or are repackaged versions of, claims or defenses that either were litigated, or could have

been litigated, in the Foreclosure Action. Accordingly, they are all barred from being heard in

the Bankruptcy Court by various preclusionary doctrines including Rooker-Feldman, Colorado

River / Younger Abstention, res judicata, collateral estoppel, and New Jersey’s Entire



undeniably shows that Final Judgment was entered against Plaintiff on September 3, 2019, a
copy of which is attached hereto as Exhibit 1.
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Controversy Doctrine, among others. Nothing in Plaintiff’s Motion proves otherwise, and his

reliance on Fed. R. Civ. P. 60(b) is grossly misplaced. This Court simply does not have

jurisdiction to hear Plaintiff’s disputes against Bayview or any other putative defendant

regarding the Foreclosure Action, in any way, and his Motion must be denied.

       C.      Plaintiff’s Motion Fails To Identify Any New Facts Or Controlling Law That
               The Court Overlooked In Granting Bayview’s Motion to Dismiss.

       Assuming that Plaintiff can overcome the preclusionary hurdles referenced above (which

he cannot), his Motion still fails to identify any new facts or controlling law that the Court

overlooked in granting Bayview’s Motion to Dismiss. As such, Plaintiff fails to satisfy the

requisite standard needed for reconsideration, and his Motion must be denied.

       Just as he has done time and time again, Plaintiff takes aim at the proceedings in the

underlying Foreclosure Action, and attempts to argue that they were somehow improper. (See,

generally, Motion at pp. 5-13.) This time, he alleges that the state court impermissibly allowed

Bayview to “cut short” the discovery period, and that the summary judgment hearing and order

“was a total sellout” to Bayview. (Id. pp. 8, 10.) However, even if these allegations were true

(which they are not), they are a clear attack on the merits of the Foreclosure Action, and have no

place in New Jersey Bankruptcy Court. Indeed, these are not any new facts that the Court failed

to consider, so they cannot serve as a basis for reconsideration.

       And while not entirely clear in the Motion, to the extent Plaintiff contends that the Court

erred in applying any of the preclusionary doctrines above because no Final Judgment was

entered in the Foreclosure Action (see Motion, pp. 14-17), he is incorrect. On September 3,

2019, Final Judgment was entered in favor of Bayview and against Plaintiff, thereby satisfying

any requirement that a “final” judgment be entered. See Exhibit 1 attached hereto.

       As for identifying a change in or misapplication of controlling law, Plaintiff’s Motion

again falls short. Rather than identify where he believes the Court specifically ran afoul of the

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law, Plaintiff attempts to place blame on the Court for not sufficiently explaining the rationale of

its decision. (See Motion, p. 13.) However, Plaintiff’s subjective belief in no way warrants

reconsideration simply because Plaintiff cannot comprehend the legal or factual basis of this

Court’s decision, or the numerous other decisions made previously by the state court.

        Regardless, Plaintiff’s Motion is clearly devoid of any new facts or law that this Court

failed to consider in granting Bayview’s Motion to Dismiss. Accordingly, there is no basis for

the Court to reconsider its January 28, 2020 Order, and Plaintiff’s Motion must be denied.

IV.     CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiff’s Motion for Reconsideration

in its entirety.

                                                             Respectfully submitted,


                                                             BLANK ROME LLP

Dated: March 3, 2020                                         s/ Thomas M. Brodowski
                                                             Edward W. Chang
                                                             Thomas M. Brodowski
                                                             Attorneys for Bayview Loan
                                                             Servicing, LLC




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